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CERTIFICATE OF SERVICE
I hereby certify that on this 7th day of November, 2003 a copy of the foregoing Royal
Indemnity Comapny’s Motion for Leave to File a Late Proof of Claim was caused to be served

on the following parties by first class mail, postage prepaid, unless otherwise indicated.

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